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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                    )
                                             )
                     Plaintiff,              )
                                             )
       vs.                                   )                 8:08CR318
                                             )
SHAWNTEL SCAIFE and                          )                   ORDER
DERMAINE DAVIS,                              )
                                             )
                     Defendants.             )


       This matter is before the court on the motion to continue trial filed by defendant,
Shawntel Scaife (Doc. 107). For good cause shown, and upon the representation that
there is no objection, trial will be continued to February 3, 2009.

       IT IS ORDERED that the motion is granted, as follows:

      1. The jury trial now set for January 6, 2009 is continued to Tuesday, February
3, 2009 as to Shawntel Scaife and Dermaine Davis.

        2. In accordance with 18 U.S.C. § 3161(h)(8)(A), the court finds that the ends of
justice will be served by granting this continuance and outweigh the interests of the public
and the defendant in a speedy trial. Any additional time arising as a result of the granting
of this motion, that is, the time between January 6, 2009 and February 3, 2009, shall be
deemed excludable time in any computation of time under the requirement of the Speedy
Trial Act because counsel require additional time to adequately prepare the case, taking
into consideration due diligence of counsel and the novelty and complexity of this case.
The failure to grant additional time might result in a miscarriage of justice. 18 U.S.C. §
3161(h)(8)(A) & (B)(iv).

       DATED December 31, 2008.

                                          BY THE COURT:

                                          s/ F.A. Gossett
                                          United States Magistrate Judge
